      Case 1:22-cv-00448-DAE           Document 79-1        Filed 04/16/24        Exhibit
                                                                                 Page 1 of- Proposed
                                                                                            15       Supplement




                        UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF TEXAS - AUSTIN DIVISION

JEREMY STORY,                                     §
Plaintiff,                                        §
                                                  §
v.                                                §             Civil Action No. 1:22-cv-448-RP
                                                  §
HAFEDH AZAIEZ, et al.                             §
  Defendants.                                     §

           PLAINTIFF’S SUPPLEMENT TO THIRD AMENDED COMPLAINT

       Plaintiff Jeremy Story files this Supplement to Third Amended Complaint pursuant to Rule

15(d) of the Federal Rules of Civil Procedure.

       Since filing the Third Amended Complaint (“Complaint”) Plaintiff has discovered

additional facts outside of the discovery process generate new factual allegations in support of

existing claims, described herein. Specifically, the new events described here provide further

support of the claims of conspiratorial and unconstitutional behavior against Plaintiff at the

Homecoming Game at Round Rock High School on September 16, 2022.

                            I.      ADDITIONAL ALLEGATIONS

1.     As the Declaration of Jeremy Story and its appended exhibits attached to this Motion as

Exhibit 1-A, show, RRISD personnel have allowed other favored individuals and causes to hand

out documents without jumping through administrative hoops, contrary to the way that RRISD

officers interacted with Plaintiff, i.e., the RRISD officers never harassed these other individuals or

nonsensically claimed that they are “exercising their First Amendment right” while commanding

others not to hand out materials.

2.     Additionally, since filing the Complaint, Plaintiff has discovered that RRISD has in its

possession a report of its police practices which would support Plaintiff’s claims, showing that his

complaints are not regarding “one-off” incidents, but are common in RRISD. The report will



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strongly militate against the contention that RRISD personnel are well managed and show they

often violate the rights of RRISD targets of attention.

3.     As the attached exhibits show, the existence of this report appears to be common

knowledge among the RRISD management and its critics – “everyone” knows that a substantial

and damning report outlining improper behavior of RRISD police exists and is being kept secret

from Story and the public.

4.     As described in the declaration, the hidden report will show an ongoing custom and

endemic culture of abuse and disregard for rights inside the RRISD police department.

5.     The attempt by the Superintendent and defendant board members to conceal the report

reveal their willful collaboration and involvement in facilitating such abuses by concealing them.

                                         II.   PRAYER

        Plaintiff respectfully requests that this Court consider this Supplement in its adjudication

of Defendants’ motions to dismiss and Plaintiff’s remedies, as further pleaded in the Third

Amended Complaint, along with all other appropriate relief.

               Respectfully submitted,

               /s/ Warren V. Norred
               Warren V. Norred, wnorred@norredlaw.com
               NORRED LAW, PLLC
               515 E. Border Street; Arlington, TX 76010
               O: 817-704-3984 / F: 817-524-6686
               Attorney for Plaintiff Jeremy Story

Attached: Exhibit 1-A, Declaration of Story


CERTIFICATE OF SERVICE - I hereby certify that on April 16, 2024, Plaintiffs served a true
and correct copy of the foregoing Supplement to Plaintiffs’ Third Amended Complaint via the
Court’s electronic filing system on all parties seeking service.

                                               /s/Warren V. Norred
                                               Warren V. Norred



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                                                                          EXHIBIT 1


                 UNITED STATES DISTRICT COURT
           WESTERN DISTRICT OF TEXAS - AUSTIN DIVISION

 JEREMY STORY,                         §
 Plaintiff,                            §
                                       §
 v.                                    §       Civil Action No. 1:22-cv-448-RP
                                       §
 HAFEDH AZAIEZ, et al.                 §
   Defendants.                         §

                 DECLARATION OF JEREMY WADE STORY

       I, JEREMY STORY, a citizen of the United States and a resident of the State of

Texas, declare under penalty of perjury under 28 U.S.C. § 1746 that the following

statements are true and correct.

Concerning RRISD’s unequal treatment of citizens exercising free speech based on
content of distributed materials.

1.     Because Defendants have inferred that it treats the RRISD population equally

in its pleadings, I here add specific instances during which the RRISD has allowed

the dissemination of flyers and materials both political and otherwise that were not

part of the school curriculum, which I know because I have seen these distributions

and flyers which have been distributed.

2.     Outside groups meet in school and flyers are distributed when groups rent

school premises. These flyers are not all run through the RRISD Superintendent.

3.     For example, during the court case that reversed Roe v. Wade, pro-abortion

students and adult activists were allowed to distribute flyers in and around the


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                                                                          EXHIBIT 1


schools, including walkways, sidewalks, grassy areas, and parking areas.

4.    In another example, RRISD allowed yard signs in front of school to promote

adoption of the Voter-Approval Tax Rate Election (VATRE). Posters were also put

on the front doors of each school building. Their website and emails were sent out

to promote VATRE. The VATRE was hotly contested political issue in our

community with many people against it, but RRISD allowed no such flyers or speech

against the VATRE on school grounds.

5.    When I filed a subsequent grievance for this email incident, RRISD tried to

force me to have my grievance adjudicated by the person in charge of IT. When I

complained that this was not an impartial person to hear my grievance because the

person was involved in blocking my email, the district dismissed my grievance,

claiming that I wasn’t responding timely, though I was in the midst of an active

disagreement with their choice of person to hear the grievance

6.    RRISD agents routinely allow or prohibit distribution of materials based on

content, e.g., the District placed flyers to encourage people to vote for a bond

proposal in students’ backpacks and incentivizing teachers with coupons for free

food to go out and vote, but not allowing anyone to distribute contrary information.

7.    The District uses a service called Peachjar to deliver digital flyers daily into

email inboxes of all parents with all kinds of completely non-school activities or

activities far less school related than a school board election as was the issue they


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                                                                            EXHIBIT 1


objected to on the flyers they threatened me with arrest for passing out. These digital

flyers are not individually reviewed by the Superintendent.

8.     Flyers by outside organizations are regularly allowed to be put on cars in the

parking lot before football games with no prior superintendent approval; nor has

there been any regular subsequent attempt to remove such flyers from cars once

discovered by the district or district police.

Concerning a police report that will show a pattern of abusive practices.

9.     In the last two months, I have learned Defendants are working to stop a

detailed independent investigative report condemning the culture and climate of the

RRISD police report commissioned by RRISD into the overall culture and climate

of the RRISD police department. When I have attempted to obtain the report (a true

copy of it at Exhibit 1-A), RRISD has rebuffed my queries in a way that strongly

suggests that the report is real. RRISD has even asked the Texas Attorney General

to protect its contents from the eyes of the public, as shown in Exhibit 1-B, (a true

copy of a RRISD letter to AG seeking permission to keep the report secret).

10.    At the February 15, 2024, RRISD Board Meeting, the Board held a closed

session discussion to “discuss, deliberate and consult with counsel regarding RRISD

PD matters” (K2 on the board agenda). Trustee Bone argued for consideration in

open session. The Board acted as though it was only seeking legal advice from Cindy

Hill, the District’s Counsel, and thus could discuss the matter in closed session.


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                                                                         EXHIBIT 1


11.    When the board returned to open session, Trustee Mary Bone stated that she

had been made aware of a recent investigation into the culture and climate of the

police department by members of the public. She further noted that the existence of

the investigation and resulting report had been hidden from her and Trustee Weston.

12.    I am aware that Trustee Weston requested the report, read it, and stated that

she had to, “request it for months and finally get the documentation.” After her

comments, she moved to “release the police department investigation and related

documents to the public with any personal redactions needed for public release.”

13.    Defendant Trustee Amber Landrum attempted multiple times to hinder board

debate on Trustee Bone’s motion by regularly interrupting her, assisted by

Defendant Trustee Harrison. Defendant Trustee Landrum then made a substitute

motion to table the release of the condemning report on the RRISD Police

Department. This motion passed 5-2 with all defendant trustees still serving on the

board voting to table (Weir, Landrum and Harrison) along with two new trustees.

14.    The Board’s conversation on this issue starts at 2:19:48 into the meeting, at

https://roundrockisdtx.new.swagit.com/videos/297627, incorporated by reference.

15.    Trustee Weston noted during the discussion, “The public has a right to know

what is going on…I am deeply concerned that this endeavor [the investigation and

report] was underway without the board knowing about it and I am really concerned

about what I have seen in this very lengthy document.          I believe given the


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sensitivity…and the scale of what this investigation was about I believe our

taxpayers have a right to see it….this board [referencing the defendant board

members] wants to make sure that the public is the last to know about what is going

on in Round Rock ISD.”

The Trustee Defendants now disallow any discussion on non-agenda issues.

16.    Until recently, formerly the public could speak on items not on the agenda at

regular board meetings. However, Defendant Trustees Weir, Landrum and Harrison

proposed and passed a new policy that restricts public comments at any board

meeting only to items on the agenda. See Exhibit 1-C.

17.    Further, the Board restricts speech and provides no public option except a

private web form that the public cannot hear or see to discuss items not on a board

agenda. In this very webform, “AKA Lighthouse Reports System” used by the public

to report police abuses. The existence of these “Lighthouse Reports” and the

resulting investigation appears to be the building blocks for the report that defendant

board members and superintendent are working hard to conceal as noted above.

18.    I have attached true copies of four documents that I know to be true to the

original, each of which either I created or RRISD created, including:

       Exhibit 1-A: Story Emails to RRISD
       Exhibit 1-B: RRISD letter to AG
       Exhibit 1-C: Board Agenda

Executed this 16th of April, Texas,         _____________________
                                                 Jeremy Story

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                                                                                                             Exhibit 1-A
  From: Open Records open_records@roundrockisd.org
Subject: TPIA 2024-345
   Date: April 2, 2024 at 2:21 PM
     To: Jeremy Story jeremy@jeremystory.org

      This email is to confirm that the District has received your request.

      We have requested AG Opinion on requests similar to yours. Please find attached a copy of the letter/argument that was sent to the
      Attorney General's Office for review. We will be in touch with regard to the status.

      Concerning request item#2, due to the same reason we have not released any responsive information yet.




      Sincerely,

      Open Records & Legal Services Department

      open_records@roundrockisd.org
      Round Rock ISD

      1311 Round Rock Ave

      Round Rock, TX 78681

      512-428-7982 (Office)

      512-464-5956 (Fax)




      On Tue, Apr 2, 2024 at 1:38 PM Jeremy Story <jeremy@jeremystory.org> wrote:
       1. I request all documentation relating to the RRISD Police Department investigation on “culture and climate” of the RRISD police
       department discussed at the February 15, 2024 Regular Board Meeting (Agenda Item K2) including the actual report itself. There was
       only one investigation discussed that evening so this should be a simple and easy request without need for clarification.

        2. Please also provide your responsive information to and any related communication to/from requestor for PIR 2024-293, PIR 2024-295,
        PIR 2024-296, and PIR 2024-301.

        Sincerely,
        Jeremy Story



              TPIA 2024-293 15 Day letter
              REQUESTOR .pdf
              285 KB
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                                                                                        Exhibit 1-B

    Hafedh Azaiez, Ed. D.
    Superintendent of Schools


    Cynthia Hill
    General Counsel



June 13, 2023

via First Class U.S. Mail and
CERTIFIED MAIL/RETURN RECEIPT REQUESTED
#7022 1670 0002 9983 3465
The Honorable John Scott
Interim Attorney General of Texas
Office of the Attorney General
209 W. 14th St., 6th Floor
Austin, Texas 78701

ATTN: Open Records Division

Re: RRISD / Request for Public Information Determination - TPIA 2023-407 – 10/15-day Letter

Dear Attorney General Paxton:

Round Rock Independent School District (“RRISD”) is requesting authorization to withhold
certain information that the District believes is not subject to and/or is excepted from disclosure
under the Public Information Act.

Round Rock Independent School District (“RRISD” “The District”) received a request for public
information via email on May 30, 2023 1 from Dianne Foletto requesting email communication
between RRISD internal Audit department and staff. We are combining our 10-day and 15-day
letter in this one document. The 10th business day from the date of receipt is June 13, 2023. The
15th business day from the date of receipt is June 20, 2023


REQUEST FOR DECISION PURSUANT TO GOVERNMENT CODE §552.301

The information that requires a determination from your office is being submitted under this
cover. 2 By copy of this letter, RRISD hereby provides notice to the Requestor that we have
requested an opinion from your office on whether the requested information is public under the
Public Information Act. This request is being submitted pursuant to Texas Government Code
Section 552.301 and the identified exemptions herein.



1
    See Exhibit 1: Public Information Request
2
    See Exhibit 2: Documentation for review


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Any information that we determine to be public information will be submitted to the Requestor
upon receipt of any required payment.


EXEMPTION FROM DISCLOSURE PURSUANT TO GOVERNMENT CODE §552.116

Section 552.116 of the Government Code provides:

(a) An audit working paper of an audit of the state auditor or the auditor of a state agency, an
institution of higher education as defined by Section 61.003, Education Code, a county, a
municipality, a school district, or a joint board operating under Section 22.074, Transportation
Code, including any audit relating to the criminal history background check of a public school
employee, is excepted from [required public disclosure]. If information in an audit working
paper is also maintained in another record, that other record is not excepted from [public
disclosure] by this section.

(b) In this section:

(1) "Audit" means an audit authorized or required by a statute of this state or the United States,
the charter or an ordinance of a municipality, an order of the commissioners court of a county, a
resolution or other action of a board of trustees of a school district, including an audit by the
district relating to the criminal history background check of a public school employee, or a
resolution or other action of a joint board described by Subsection (a) and includes an
investigation.

(2) "Audit working paper" includes all information, documentary or otherwise, prepared or
maintained in conducting an audit or preparing an audit report, including:

(A) intra-agency and interagency communications; and

(B) drafts of the audit report or portions of those drafts.

The current request seeks communications related to an anonymous Lighthouse report, which is
part of the District’s fraud hotline. Upon receipt, Internal Audit assigns the report to the
appropriate department for investigation, if appropriate. The fraud hotline is included in the
annual Internal Audit Plan & Schedule, which the Round Rock ISD Board of Trustees approves
annually. The Board approved the current plan on June 16, 2022. In addition, Board policy CFC
(Local), which was last revise by the Board on July 7, 2021, provides the process for handling
Lighthouse reports. The Board approved the process for handling the Lighthouse reports in
December 2021.

By approving CFC (Local); the process for handling Lighthouse reports; and the annual Internal
Audit Plan & Schedule, the Round Rock ISD Board of Trustees has authorized investigations
into Lighthouse reports. Thus, the current investigation, which is still pending, meets the
definition of “audit” under Government Code §552.116. Likewise, the documents marked for
review meet the definition of “audit working papers.”




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Conclusion

We respectfully request that this request for information be reviewed for a determination by your
office to protect any and all information that is deemed excepted from disclosure under the
Public Information Act.

If you have any questions or need additional information, please feel free to contact me at
512.464.5451.

Sincerely,



Jacob Woolston
Senior Staff Attorney
Round Rock ISD


Enclosure(s)


cc: Ms. Dianne Foletto
    Via email
    w/o Enclosures




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                              EXHIBIT 1

                         Request for Information




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                             EXHIBIT 2

       Responsive Information to be Reviewed
                For a Determination




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                                                                                             Exhibit 1-C




                        Thursday, February 15, 2024
    ROUND ROCK INDEPENDENT SCHOOL DISTRICT BOARD OF TRUSTEES REGULAR
                             BOARD MEETING

5:45 P.M. Regular Session
LOCATION: Round Rock High School 100 Lecture Hall, 300 N Lake Creek Drive, Round Rock, TX
78681
Notice is hereby provided that a quorum of at least four Trustees will be physically present at the
meeting location and the Board intends to have a quorum present at such location, but up to three
Trustees may attend the meeting by videoconference call as permitted by Tex. Gov't Code Section
551.127.
Board of Trustees meetings are live streamed on the Round Rock ISD website
https://roundrockisd.org/about-rrisd/board-of-trustees/board-meetings/


A. ORDER OF BUSINESS

1. Order of Business

B. CALL TO ORDER

1. Call to Order

C. PLEDGE OF ALLEGIANCE AND TEXAS PLEDGE

1. Pledge of Allegiance and Texas Pledge

D. RECOGNITION OF STUDENTS AND STAFF

1. Recognition of Students and Staff

2. District Video Highlight: Career & Technical Education Month

E. PUBLIC COMMENTS TO AGENDA ITEMS UNDER SECTIONS F, G, H, I AND K ONLY

1. The Board will afford members of the public an opportunity to speak on items listed on the Board agenda.
Individuals wishing to address the Board must sign up between 4:55 p.m. and 5:40 p.m. at the meeting location.
Speakers may request an interpreter if they plan to deliver their remarks in a language other than English by
emailing community_relations@roundrockisd.org at least eight hours prior to the start of the meeting.

2. La Mesa Directiva brindará a los miembros del público la oportunidad de hablar sobre los temas incluidos en la
agenda de la Junta. Las personas que deseen dirigirse a la Mesa deben registrarse entre las 4:55 p.m. y 5:40 p.m.
en el lugar de la reunión. Los oradores pueden solicitar un intérprete si planean presentar sus comentarios en un
idioma que no sea ingles enviando un correo electrónico a community_relations@roundrockisd.org al menos ocho
horas antes del inicio de la reunión.

F. SUPERINTENDENT REPORTS

1. Long-Range Facilities Master Plan and Strategic Plan Updates

G. DISCUSSION ITEMS

1. Board Student Outcome Goals Time Tracker for January

2. 2023-2024 Budget Update and 2024-2025 Proposed Budget

H. ITEMS FOR CONSIDERATION BY CONSENT

1. Approval of Board Minutes

2. Approval of 2023-2024 Budget Amendments
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3. Approval of Quarterly Investment Report

4. Approval of Award of Construction Manager-at-Risk (CMAR) for 2018 Bond - Stony Point High Cafeteria Expansion

5. Approval for Multiple Campuses - Hail Storm Roofing Projects Phase #1

6. Approval of Guaranteed Maximum Price (GMP) #2 for 2018 Bond Early College High School

I. ACTION ITEMS

1. Discussion and Possible Action on the Board of Trustees Self Evaluation

2. Discussion and Possible Adoption of Resolution in Support of Fair and Transparent Accountability System - Trustee
Harrison

J. BOARD BUSINESS

1. Board Announcements/Calendar RSVP's/Requests for Future Agenda Items Per Policy BE (Local)

K. CLOSED SESSION (The Board reserves the right to enter into closed session on any agenda item as
permitted by the Texas Open Meetings Act, Section 551.071 et seq.)

1. Pursuant to Texas Government Code Sections 551.071 and 551.076, the Board will review, deliberate and discuss
the Safety and Security Committee Report regarding the Intruder Detection Audit findings.

2. Pursuant to Texas Government Code Sections 551.071, 551.076 and 551.089, and as requested by Trustee Bone,
the Board will discuss, deliberate and consult with counsel regarding RRISD PD matters.

3. Pursuant to Texas Government Code Sections 551.071 and 551.074, the Board will consult with counsel
concerning Trustee Bone's request, in her official capacity, for "all communications and written documentation" to or
from individual trustees named in the Story v. RRISD et al. Cause No 1-22-cv-00448-DAE lawsuit "regarding
anything and everything in regards to" the lawsuit, including all communications with their counsel, Thompson &
Horton LLP.

L. CALL BACK TO ORDER/EXECUTIVE SESSION MOTIONS

1. Call Back to Order/Executive Session Motions

M. ADJOURNMENT

1. Adjournment
